 4:05-cr-03116-RGK-DLP        Doc # 47     Filed: 02/16/06    Page 1 of 1 - Page ID # 190




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )            4:05CR3116-2
                                             )
              Plaintiff,                     )            MEMORANDUM
                                             )            AND ORDER
vs.                                          )
                                             )
URIEL HERNANDEZ RUIZ,                        )
                                             )
              Defendant.                     )

       On the oral motion of the defendant, and without objection by the government,

       IT IS ORDERED that:

       (1)   Trial of this case as to Defendant Hernandez Ruiz is continued to 9:00 a.m.,
Monday, April 24, 2006, before the undersigned United States district judge, in Lincoln,
Nebraska. Since this is a criminal case, the defendant shall be present unless excused by the
court.

      (2)    The time between today’s date and the new trial date is excluded under the
Speedy Trial Act and in the interest of justice. See 18 U.S.C. § 3161(h)(1)(I)& (h)(8)(A)(B).

       (3)    The defendant’s motion to continue trial (filing 45) is granted.

       February 16, 2006.                         BY THE COURT:

                                                  s/ Richard G. Kopf
                                                  United States District Judge
